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                                         UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF FLORIDA
                                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                                     Case # 3:08cr61-001/LAC

ADRIAN CAWTHON
a/k/a "Rick",
a/k/a "Little Ricky",
a/k/a "Little Shitty"
                                                                         USM # 07012-017

                                                                         Defendant’s Attorney:
                                                                         Stephen Sutherland (Appointed)
                                                                         201 East Government Street
                                                                         Pensacola, Florida 32502
___________________________________

                                          JUDGMENT IN A CRIMINAL CASE

The defendant was found guilty on Count One of the Superceding Indictment on September 17,
2008. Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such count(s) which
involve(s) the following offense(s):

       TITLE/SECTION                            NATURE OF                            DATE OFFENSE
          NUM BER                                OFFENSE                              CONC LUDED            COUNT

 21 U.S.C. §§                       Conspiracy to Distribute and                        July 3, 2008         One
 841(b)(1)(A)(ii), (iii), and       Posse ss w ith Intent to Distribute
 846                                5 Kilograms or More of Cocaine
                                    and 50 Grams or More of
                                    Cocaine Base

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                                         Date of Imposition of Sentence:
                                                                         December 9, 2008

                                                                         s /L.A. Collier
                                                                         LACEY A. COLLIER
                                                                         SENIOR UNITED STATES DISTRICT JUDGE

                                                                         Date Signed: December 12, 2008
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                                                      IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of Life. This term shall run concurrently with the imprisonment term
imposed in DKT #07CF85 in Santa Rosa County Circuit Court.

The defendant is remanded to the custody of the United States Marshal.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                           __________________________________
                                                                                 UNITED STATES MARSHAL


                                                                       By:__________________________________
                                                                                   Deputy U.S. Marshal
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                                                SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 10
years.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime and shall not possess a
firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                               STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.        the defendant sh all not leave the ju dicial district without the permission of the court or probation
          officer;

2.        the defendant shall report to the probation officer and shall submit a truthful and complete written
          report within the first five days of each month;

3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
          of the probation officer;

4.        the defendant shall support his or her dependents and meet other family responsibilities;

5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
          schooling, training, or other acceptable reasons;

6.        the defendant sh all notify the probation officer at least 10 days prior to any change in residence or
          em ploym ent;

7.        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
          distribute, or administer any controlled substance or any paraphernalia related to any controlled
          substances, except as prescribed by a physician;

8.        the defendant shall not frequent places where controlled substances are illegally sold, used,
          distributed, or administered;

9.        the defe nda nt shall not as soc iate with any pe rsons e nga ged in crim inal activity and sh all not as soc iate
          with any person convicted of a felony unless gran ted perm ission to do so by the probation officer;
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10.       the defendant sh all perm it a probation officer to visit him or her at any time at home or elsewhere and
          shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;

11.       the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
          law enforcem ent officer;

12.       the defe nda nt shall not en ter into a ny agreem ent to act as an informer or a special agent of a law
          enforcement agency without the permission of the court; and

13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant’s criminal record or personal history or c haracte ristics and shall perm it
          the probation officer to mak e such notifications and to confirm the defendant’s compliance with such
          notifica tion req uirem ent.

14.       if this judgme nt impos es a fine or a restitution obligation, it shall be a condition of supervision that the
          defendant pay any such fine or restitution in accordance with th e Schedule of P aym ents s et forth in
          the C rim inal Mone tary Penalties she et of this judg m ent.

                      ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

          The defendant shall also comply with the following additional conditions of supervised
          release:

          The defendant shall be evaluated for substance abuse and referred to treatment as
          determined necessary through an evaluation process. The defendant may be tested for the
          presence of illegal controlled substances at any time during the term of supervision.
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Upon a finding of a violation of probation or supervised release, I understand the Court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.

These conditions have been read to me. I fully understand the conditions and have been provided
a copy of them.




          Defendant                                                                           Date




          U.S. Probation Officer/Designated Witness                                           Date
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                                      CRIMINAL MONETARY PENALTIES


All criminal monetary penalty payments, except those payments made through the Bureau of
Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District Court,
unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S. District
Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments can
be made in the form of cash if paid in person.

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest on
any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                        Fine                             Restitution

                $100.00




                                     SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $100.00 is imposed.

No fine imposed.

No restitution imposed.
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                                             SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; and (7)
penalties in full immediately.

Breakdown of fine and other criminal penalties is as follows:

          SMA: $100.00

The $100.00 monetary assessment shall be paid immediately. Any payments of the monetary
assessment and the fine made while the defendant is incarcerated shall be made through the
Bureau of Prisons’ Inmate Financial Responsibility Program. The defendant must notify the court
of any material changes in the defendant’s economic circumstances, in accordance with 18 U.S.C.
§§ 3572(d), 3664(k) and 3664(n). Upon notice of a change in the defendant’s economic condition,
the Court may adjust the installment payment schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the amount
due. The defendant will receive credit for all payments previously made toward any criminal
monetary penalties imposed.
